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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                  Case No. 2:12-cr-00004-MMD-GWF
                                               )
 9   vs.                                       )                  ORDER
                                               )
10   FREDRICK THOMAS,                          )
                                               )
11                     Defendant.              )
     __________________________________________)
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            This matter is before the Court on Kathleen Bliss’ Motion to Withdraw as Counsel for
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     Defendant Fredrick Thomas (#1036), filed on August 7, 2015.
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            Counsel represents that a conflict of interest exists in this matter due to her prior work with
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     the United States Attorney’s Office. Counsel has sufficiently established good cause for the
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     withdrawal. Accordingly,
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            IT IS HEREBY ORDERED that Kathleen Bliss’ Motion to Withdraw as Counsel for
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     Defendant Fredrick Thomas (#1036) is granted.
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            IT IS FURTHER ORDERED that a hearing to appoint new counsel for Defendant
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     Fredrick Thomas will be held on Friday, August 14, 2015 at 11:00 a.m. in Courtroom 3A.
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            DATED this 10th day of August, 2015.
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24                                                 GEORGE FOLEY, JR.
                                                   United States Magistrate Judge
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